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 4                           UNITED STATES DISTRICT COURT
 5                                 DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,                 )
                                               )      2:10-CV-00156-PMP-LRL
 8                    Plaintiff,               )      2:06-CR-00291-PMP-LRL
                                               )
 9   vs.                                       )            ORDER
                                               )
10   LONNIE LILLARD,                           )
                                               )
11                                             )
                      Defendant.               )
12                                             )
13            On November 22, 2010, the Appellate Commissioner for the Unites States
14   Court of Appeals for the Ninth Circuit entered an Order remanding this action to this
15   Court to the limited purpose of granting or denying a certificate of appealability.
16            The Court finds that for the reasons set forth in its Order (Doc. #229)
17   denying Defendant Lillard’s Motion to Vacate Sentence (Doc. #216) the grounds
18   asserted by Defendant Lillard in support of his motion for relief are meritless.
19   Accordingly, this Court denies Defendant Lillard’s request for a certificate of
20   appealability.
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22   DATED: November 29, 2010.
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                                                PHILIP M. PRO
25                                              United States District Judge
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